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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,  :
                           :
v.                         :
                           :                        Case No.: 7:21-CR-00043 (WLS-TQL)
                           :
MARGARITO VELASQUEZ-GOMEZ, :
                           :
                           :
    Defendant.             :
                           :
                                           ORDER
       Before the Court is Defendant’s Unopposed Motion to Continue filed on December
1, 2021. (Doc. 20.) Defendant states that additional time is needed to complete review of
discovery and assessment of the case, and he asks that the specially set trial in this case be
continued to the next available trial calendar after January 2022. He also states that the
Government does not oppose the requested continuance.
       Based on the above-stated reasons, the Court finds that the ends of justice served by
granting such a continuance outweigh the best interests of the public and the Defendant in a
speedy trial. 18 U.S.C. § 3161(h)(7)(A)-(B). Therefore, the motion to continue (Doc. 20) is
GRANTED. The Court hereby ORDERS that the trial in the above-referenced matter be
CONTINUED to the Valdosta Division February 2022 term and its conclusion, or as may
otherwise be ordered by the Court. Furthermore, it is ORDERED that the time lost under
the Speedy Trial Act, 18 U.S.C. § 3161, be EXCLUDED pursuant to 18 U.S.C. § 3161(h)(7)
because the Court has continued the trial in this case and finds that the failure to grant a
continuance would likely result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).
       The scheduled December 7, 2021 pretrial conference is CANCELLED.
       However, the next available trial calendar begins on February 7, 2022. As such, counsel
for the Parties shall confer review the case, confer, and inform the Court no later than
Tuesday, December 21, 2021 whether any matters require a hearing or further briefing or




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whether the case is ready to proceed to trial. If this case is not ready for trial, a motion to
continue the trial should be filed, or this case will be noticed for a pretrial conference.



       SO ORDERED, this 3rd day of December 2021.

                                             /s/ W. Louis Sands
                                             W. LOUIS SANDS, SR. JUDGE
                                             UNITED STATES DISTRICT COURT




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